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                            IN THE UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF MISSISSIPPI
                                      OXFORD DIVISION

RODNEY JONES and wife,
DEANGELA BATTLE                                                                              PLAINTIFFS

VERSUS                                                         CAUSE NO.: 3:20-cv-00308-MPM-RP

THE RAYMOND CORPORATION                                                                    DEFENDANT

                                        NOTICE OF SERVICE

       Please take notice that Edward P. Connell, Jr., one of the attorneys for the Plaintiffs, has served on

the foregoing counsel the following document:

               Designation Of Expert Witnesses.

       Plaintiffs’ counsel maintains the original of said document as custodian thereof.

       RESPECTFULLY SUBMITTED this the 6th day of October, 2021.
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on October 6, 2021, I electronically filed the foregoing with the
Clerk of the Court using the ECF system which sent notification of such filing to the following:

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